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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                               NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7   IN RE: CATHODE RAY TUBE (CRT)                     MDL No. 1917
                                       ANTITRUST LITIGATION
                                   8                                                     Case No. C-07-5944 JST

                                   9
                                       This Order Relates To:                            ORDER ON MOTIONS IN LIMINE
                                  10                                                     REGARDING THE ALLEGED
                                                                                         CONSPIRACY’S OPERATION
                                  11   Sharp Electronics Corp., et al. v. Hitachi
                                       Ltd., et al., No. 13-cv-1173;
                                  12
Northern District of California
 United States District Court




                                       Sharp Electronics Corp., et al. v. Koninklijke
                                  13   Philips Elecs. N.V., et al., No. 13-cv-02776;
                                  14   Siegel v. Hitachi, Ltd., et al., No. 11-cv-
                                       05502; Siegel v. Technicolor SA, et al., No.
                                  15   13-cv-05261;
                                  16   Best Buy Co., et al. v. Hitachi, Ltd., et al.,
                                       No. 11-cv-05513;
                                  17
                                       Best Buy Co., et al. v. Technicolor SA, et al.,
                                  18   No. 13-cv-05264;
                                  19   Target Corp. v. Chunghwa Picture Tubes,
                                       Ltd., et al., No. 11-cv-05514;
                                  20
                                       Target Corp. v. Technicolor SA, et al., No.
                                  21   13-cv-05686;
                                  22   Sears, Roebuck and Co. and Kmart Corp. v.
                                       Chunghwa Picture Tubes, Ltd., et al., No.
                                  23   11-cv-05514;
                                  24   Sears, Roebuck and Co. and Kmart Corp. v.
                                       Technicolor SA, et al., No. 13-cv-05262;
                                  25
                                       Viewsonic Corp. v. Chunghwa Picture
                                  26   Tubes, Ltd., et al., No. 14-cv-02510.
                                  27

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                                   1          The parties organized the pending motions in limine into nine categories. See ECF No.

                                   2   4603, Ex. A. This order addresses the sixth category, entitled “Motions re Alleged Conspiracy’s

                                   3   Operation,” which contains six motions: three filed jointly by Defendants, two filed by Mitsubishi

                                   4   Electric, and one filed by Direct Action Plaintiffs (“DAPs”).

                                   5          The motions are fully briefed and suitable for disposition without oral argument per Local

                                   6   Rule 7-1(b). The Court now rules as follows:

                                   7

                                   8                  Name of Motion                     Motion         Opp’n     Reply        Ruling
                                                                                         ECF No.       ECF No.   ECF No.
                                   9
                                        MOTION FOR PRETRIAL PROFFER AND                  3559          3652      3767       GRANTED
                                  10    RULING ON ADMISSIBILITY OF                       (“DEF.        (“Def.    (“Def.     IN PART,
                                        ALLEGED CO-CONSPIRATOR                           MIL #1        MIL #1    MIL #1     DENIED IN
                                  11    STATEMENTS                                       Mot.”)        Opp’n”)   Reply”)    PART

                                  12    MOTION TO EXCLUDE PLAINTIFFS’                    3568          3648-4    3761       DENIED
Northern District of California




                                        PRICE-LADDER THEORY OF                           (“PRICE       (“PRICE   (“PRICE
 United States District Court




                                  13    RECOVERY                                         -Ladder       -Ladder   -Ladder
                                                                                         Mot.”)        Opp’n”)   Reply”)
                                  14
                                        MOTION TO EXCLUDE ARGUMENT OR                    3558          3676-4    3757-4     GRANTED
                                  15    EVIDENCE REGARDING PURPORTEDLY                   (“DAP         (“DAP     (“DAP      IN PART,
                                        PRO-COMPETITIVE JUSTIFICATIONS                   MIL           MIL #13   MIL #13    DENIED IN
                                  16    FOR DEFENDANTS’ AGREEMENTS                       #13”)         Opp’n”)   Reply”)    PART
                                        REGARDING CRT PRICE, SUPPLY,
                                  17    PRODUCTION, OR CUSTOMERS

                                  18    MOTION TO EXCLUDE REFERENCES                     3557          3686      3765       DENIED
                                        TO DOCUMENTS OR BEHAVIOR NOT IN                  (“Def.        (“Def.    (“Def.
                                  19    EVIDENCE                                         MIL           MIL #11   MIL #11
                                                                                         #11”)         Opp’n”)   Reply”)
                                  20
                                        MITSUBISHI ELECTRIC’S MOTION IN                  3601          3644-4    3772-4     DENIED
                                  21    LIMINE NO. 3 TO EXCLUDE ANY                      (“Mits.       (“Mits.   (“Mits.
                                        REFERENCE AT TRIAL TO ANY                        Mot.”)        OPP’N”)   REPLY”
                                  22    PARTY’S PARTICIPATION IN THE EIAJ                                        )
                                        AND EIAJ ACTIVITIES
                                  23
                                        MITSUBISHI ELECTRIC’S MOTION IN                  3601          3644-4    3772-4     GRANTED
                                  24    LIMINE NO. 1 TO EXCLUDE THE SDI                  (“Mits.       (“MITS.   (“MITS.
                                        INTERROGATORY RESPONSE                           Mot.”)        Opp’n”)   Reply”)
                                  25

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                                   1
                                       I.       MOTION FOR PRETRIAL PROFFER AND RULING ON ADMISSIBILITY OF
                                   2            ALLEGED CO-CONSPIRATOR STATEMENTS
                                   3            Defendants move the Court for an order compelling pretrial disclosure of statements that

                                   4   the DAPs seek to admit as non-hearsay co-conspirator statements and for a pretrial evidentiary

                                   5   hearing to determine their admissibility. The DAPs oppose Defendants’ motion, contending that

                                   6   “Defendants are asking for a free preview of Plaintiffs’ trial strategy,” and that “there is a more

                                   7   efficient and less burdensome alternative . . . .” Def. MIL #1 Opp’n at 1-2. Specifically, the

                                   8   DAPs propose that the Court conditionally admit co-conspirator statements “subject to a decision

                                   9   at the close of all the evidence or the plaintiffs’ case in chief as to whether the predicates for

                                  10   admission under Rule 801(d)(2)(E) have been met.” Id. at 1. Defendants reply that the DAPs’

                                  11   plan creates a substantial risk of severe prejudice. They also propose an alternative whereby the

                                  12   Court would address the admissibility of such evidence on the business day prior to the
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                                  13   introduction of any given alleged co-conspirator statement. This was the approach that was taken

                                  14   by Judge Hamilton in Sun Microsystems, and it is the approach that the Court will take here. See

                                  15   Final Pretrial Order at 8, Sun Microsystems Inc. v. Hynix Semiconductor Inc., 4:06-CV-01665-

                                  16   PJH (ECF No. 710) (N.D. Cal. May 20, 2009). Accordingly, Defendants’ motion is GRANTED

                                  17   IN PART and DENIED IN PART.

                                  18            Under Bourjaily v. United States, 483 U.S. 171 (1987), “an accused’s knowledge of and

                                  19   participation in an alleged conspiracy are preliminary facts that must be established before extra-

                                  20   judicial statements of a co-conspirator can be introduced into evidence.” See also United States v.

                                  21   Silverman, 861 F.2d 571, 576 (9th Cir. 1988); In re Coordinated Pretrial Proceedings in Petroleum

                                  22   Prods. Antitrust Litig., 906 F.2d 432, 458-59 (9th Cir. 1990) (applying Bourjaily standards to civil

                                  23   antitrust case). Thus, to the extent that any party wishes to rely on co-conspirator statements at

                                  24   trial, the court establishes the following preliminary protocol for the admission of any such

                                  25   statements:

                                  26            No later than 12:00 p.m. on the business day prior to calling the witness(es) seeking to

                                  27   introduce such statement(s) at trial, the party seeking to introduce such statement(s) must deliver

                                  28   to chambers and to opposing parties two copies of a chart and any related materials delineating:
                                                                                          3
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                                   1   (1) the identity of the testifying witness; (2) a statement describing the witness; (3) a summary of

                                   2   the evidence showing that the witness knew about and participated in the conspiracy; (4) the

                                   3   emails to be introduced via that witness, identifying within the email the specific co-conspirator

                                   4   statements to be introduced via that witness; (5) the identity of the declarant of each specific co-

                                   5   conspirator statement; and (6) a summary of the evidence showing that each declarant of the co-

                                   6   conspirator statement(s) knew about and participated in the conspiracy. The court will hear all

                                   7   arguments regarding the introduction of co-conspirator statements the following day prior to trial.1

                                   8   While the court will issue a ruling as to the evidentiary admissibility of co-conspirator statements

                                   9   prior to trial, however, the court will reserve any ruling as to whether a statement was made “in

                                  10   furtherance” of a conspiracy until after the statement has been introduced at trial.

                                  11   II.     MOTION TO EXCLUDE PLAINTIFFS’ PRICE-LADDER THEORY OF
                                               RECOVERY
                                  12
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                                               Defendants move the Court to exclude all evidence and argument at trial that agreements to
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                                  13
                                       raise prices for 15-inch cathode ray tube (“CRT”) sizes could have had the effect of raising prices
                                  14
                                       for other sizes (hereafter, “Larger-Sized CRTs”). The motion is DENIED.
                                  15
                                               Defendants’ motion essentially makes two arguments. The first turns in part on the
                                  16
                                       sufficiency of the DAPs’ evidence. Defendants claim the Court should exclude evidence and
                                  17
                                       argument that agreements to raise the price of 15-inch CRTs had the effect of raising the price of
                                  18
                                       Larger-Sized CRTs because there is no evidence that was the purpose of those agreements. The
                                  19
                                       second argument relates to whether the DAPs have standing to assert claims for damages under a
                                  20
                                       “price-ladder” theory of recovery. Defendants argue the DAP’s price-ladder theory is
                                  21
                                       substantively the same as umbrella2 damages because both are a form of consequential damages.
                                  22
                                       See Price-Ladder Reply at 1. Because the Ninth Circuit denied standing for plaintiffs seeking
                                  23

                                  24   1
                                         If the volume of statements sought to be admitted exceeds the Court’s capacity to analyze them
                                  25   before the next trial day begins, or if argument concerning the admissibility of the statements
                                       would unduly consume time that would be better devoted to trial, the Court reserves its right to
                                  26   exclude the statements pursuant to Federal Rule of Evidence 403. If the DAPs anticipate seeking
                                       to admit that volume of statements, they are advised to seek a ruling pre-trial.
                                       2
                                  27     “Umbrella damages” refer to injuries caused by a price-fixing conspiracy but suffered as a result
                                       of purchases made from suppliers outside of the cartel. See Philip E. Areeda & Herbert
                                  28   Hovenkamp, Antitrust Law: An Analysis of Antitrust Principles and Their Application ¶ 347 (4th
                                       ed. 2014).
                                                                                         4
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                                   1   umbrella damages in In re Coordinated Proceedings in Petroleum Prods. Antitrust Litig., 691 F.2d

                                   2   1335, 1340 (9th Cir. 1982) (“Petroleum Prods.”), Defendants assert this Court should do the same

                                   3   regarding damages based on the DAP’s price-ladder theory.

                                   4           Defendants’ motion is procedurally inappropriate. Arguments relating to the sufficiency of

                                   5   evidence or standing should be made on a motion for summary judgment, not a motion in limine.

                                   6   See 75 Am. Jur. 2d Trial § 44 (“The use of motions in limine to summarily dismiss a portion of a

                                   7   claim has been condemned, and the trial courts are cautioned not to allow motions in limine to be

                                   8   used as unwritten and unnoticed motions for summary judgment or motions to dismiss.”). The

                                   9   motion also fails on the merits, as explained in more detail below.

                                  10           A.     Lack Of Evidence Of An Unlawful Purpose
                                  11           Defendants claim the DAPs must prove the conspiracy had both the effect and the purpose

                                  12   of fixing prices. See Price-Ladder Mot. at 1-2. That is not the law. The Supreme Court has
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                                  13   repeatedly held that a Sherman Act Section 1 “civil violation can be established by proof of either

                                  14   an unlawful purpose or an anticompetitive effect.” United States v. U.S. Gypsum Co., 438 U.S.

                                  15   422, 436 n.13 (1978) (emphasis added); see McLain v. Real Estate Bd. of New Orleans, Inc., 444

                                  16   U.S. 232, 243 (1980); Nat'l Soc. of Prof'l Engineers v. United States, 435 U.S. 679, 690 (1978);

                                  17   Rutman Wine Co. v. E. & J. Gallo Winery, 829 F.2d 729, 735 (9th Cir. 1987); Dreiling v. Peugeot

                                  18   Motors of Am., Inc., 850 F.2d 1373, 1381 (10th Cir. 1988).3

                                  19           Defendants also contend that “[p]rice fixing requires proof of an agreement to fix the

                                  20   prices on the product at issue” and that there is no evidence of an agreement to fix the price of

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                                         Defendants’ motion includes a quote taken out of context from Broad. Music, Inc. v. Columbia
                                  23   Broad. Sys., Inc., 441 U.S. 1, 23 (1979) (“BMI”). Price-Ladder Mot. at 2 (“The Supreme Court
                                       has made clear that ‘[n]ot in all arrangements among actual or potential competitors that have an
                                  24   impact on price are per se violations of the Sherman Act or even unreasonable restraints.’”). BMI,
                                       however, addressed when an agreement is illegal per se versus when it ought to be evaluated under
                                  25   the rule of reason. If Defendants are arguing that the DAPs’ claims related to purchases of Larger-
                                       Sized CRTs ought to be evaluated under the rule of reason, their argument fails. The DAPs are
                                  26   alleging an agreement to fix prices. That is sufficient to trigger the per se rule. The question here
                                       is whether they can claim as damages overcharges from Larger-Sized CRTs. That question turns
                                  27   on whether the DAPs have standing to assert those claims and whether the alleged overcharges
                                       from Larger-Sized CRTs were the direct and proximate result of the unlawful acts of the
                                  28   defendant. Atl. Richfield Co. v. USA Petroleum Co., 495 U.S. 328, 334-46 (1990).
                                                                                         5
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                                   1   Larger-Sized CRTs. Price-Ladder Mot. at 1. They reason, therefore, that the DAPs should be

                                   2   prohibited from arguing Defendants distorted the price of Larger-Sized CRTs by fixing the price

                                   3   of 15-inch CRTs. The DAPs dispute whether there is evidence of an agreement to fix the price of

                                   4   Larger-Sized CRTs. Further, they argue that agreements to fix the price of 15-inch CRTs were a

                                   5   means by which Defendants distorted the price of Larger-Sized CRTs.

                                   6           Defendants’ argument fails for two reasons. First, whether there is sufficient evidence of

                                   7   an agreement to fix the price of Larger-Sized CRTs is a question for the jury.4 See Meyer

                                   8   Intellectual Properties Ltd. v. Bodum, Inc., 690 F.3d 1354, 1378 (Fed. Cir. 2012) (holding that

                                   9   motions in limine are “not the appropriate vehicle for weighing the sufficiency of the evidence”).

                                  10   Second, Defendants are potentially liable notwithstanding a lack of evidence of agreements to fix

                                  11   the price of Larger-Sized CRTs given that “the machinery employed” to distort the price of

                                  12   Larger-Sized CRTs “is immaterial.” See United States v. Socony-Vacuum Oil Co., 310 U.S. 150,
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                                  13   223 (1940). Defendants are therefore liable for damages caused by purchases of Larger-Sized

                                  14   CRTs if alleged agreements to fix the price of 15-inch CRTs were a means by which they distorted

                                  15   the price of Larger-Sized CRTs, as the DAPs’ price-ladder theory suggests.

                                  16           B.     DAPs’ “Price-Ladder Theory” Of Damages
                                  17           The DAPs intend to present evidence showing price agreements for 15-inch CRTs raised

                                  18   the prices of Larger-Sized CRTs because “prices for different size products move in tandem”

                                  19   (hereafter, the DAPs’ “Price-Ladder Theory” of recovery). Price-Ladder Opp’n at 2-3.

                                  20   Defendants argue that the DAPs should be prohibited from pursuing damages based on a Price-

                                  21   Ladder Theory because “derivative effects on prices from allegedly anticompetitive conduct are

                                  22   not actionable . . . .” Price-Ladder Mot. at 3. In support of that proposition, Defendants point to

                                  23   cases that have denied standing to plaintiffs pursuing damages under an “umbrella” theory. These

                                  24   cases, according to Defendants, establish that “the Ninth Circuit and other courts have rejected as

                                  25   ‘unacceptably speculative’ antitrust theories seeking recovery for products that were not

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                                         Alternatively, if Defendants believed there was no genuine dispute of material fact on this issue,
                                  28   they should have filed a motion for summary judgment.
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                                   1   themselves the subject of price-fixing agreements, but whose prices allegedly increased as a ‘result

                                   2   of’ other products’ price-fixing agreements.” Id. at 2-3.

                                   3           Defendants’ authority is inapposite because price-ladder damages are materially different

                                   4   from umbrella damages. Defendants’ argument also fails because it is not true that umbrella

                                   5   damages are prohibited in the Ninth Circuit where, as here, plaintiffs are only one step removed

                                   6   from Defendants in the distribution chain.

                                   7                  1.      Price-Ladder Damages And Umbrella Damages Are Distinct
                                   8           “Umbrella damages” refer to injuries caused by a price-fixing conspiracy but suffered as a

                                   9   result of purchases made from suppliers outside of the cartel (hereafter, “non-conspiring suppliers”

                                  10   or “innocent suppliers”). See Philip E. Areeda & Herbert Hovenkamp, Antitrust Law: An

                                  11   Analysis of Antitrust Principles and Their Application ¶ 347 (4th ed. 2014). Such injuries occur

                                  12   because cartels distort not only the prices charged by conspirators themselves, but also market
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                                  13   prices generally.5

                                  14           Many courts have found the distinction between umbrella damages and other types of

                                  15   damages legally and economically inconsequential. See, e.g., United States Gypsum Co. v.

                                  16   Indiana Gas Co., Inc., 350 F.3d 623, 627 (7th Cir. 2003) (“A cartel cuts output, which elevates

                                  17   price throughout the market; customers of fringe firms (sellers that have not joined the cartel) pay

                                  18   this higher price, and thus suffer antitrust injury, just like customers of the cartel's members.”); In

                                  19   re Lower Lake Erie Iron Ore Antitrust Litig., 998 F.2d 1144, 1168 (3d Cir. 1993) (“[T]he mere

                                  20   fact that monies paid to third parties . . . represent a component by which the [plaintiffs] measure

                                  21   their damages does not foreclose further inquiry as to whether standing existed.”); Beef Indus.

                                  22   Antitrust Litig., 600 F.2d 1148, 1166 n.24 (5th Cir. 1979), cert. denied, 449 U.S. 905 (1980)

                                  23   (granting standing for sellers to competitors of buying cartel); Uranium Antitrust Litig., 552 F.

                                  24

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                                       5
                                         Specifically, such injuries occur because cartels increase prices by reducing output. This
                                  26   reduction in market supply causes the market price of the price-fixed good to increase, including
                                       potentially the price charged by non-conspiring suppliers. It follows that consumers who purchase
                                  27   price-fixed goods from non-conspiring suppliers are likely to be injured, at least to some extent,
                                       even though the price of the specific good purchased was at no point “set” by a conspirator
                                  28   pursuant to an agreement to fix prices.
                                                                                          7
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                                   1   Supp. 518, 523-25 (N.D. Ill. 1982) (collecting cases and providing a detailed explanation as to

                                   2   why umbrella damages are substantively no different than damages caused by purchases from

                                   3   conspirators); Strax v. Commodity Exch. Inc., 524 F. Supp. 936, 939–40 (S.D.N.Y. 1981)

                                   4   (granting standing to plaintiffs who purchase from non-conspiring sellers).

                                   5           Some courts, however, have denied standing for umbrella damages on the theory that

                                   6   umbrella damages are too speculative, causally remote, and/or foreclosed by Illinois Brick’s

                                   7   concerns regarding evidentiary complexities and duplicative recoveries. See, e.g., Mid-West

                                   8   Paper Products v. Continental Group, Inc., 596 F.2d 573, 583–87 (3d Cir. 1979) (denying standing

                                   9   “in light of the tenuous line of causation between the defendants' price fixing and the prices paid

                                  10   by [the plaintiff]” and because “[t]he outcome of any attempt to ascertain what price the

                                  11   defendants' competitors would have charged had there not been a conspiracy would at the very

                                  12   least be highly conjectural”);6 FTC v. Mylan Labs., Inc., 62 F. Supp. 2d 25, 38-39 (D.D.C. 1999)
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                                  13   (“The main difficulty with the umbrella theory is that, even in the context of a single level of

                                  14   distribution, ascertaining the appropriate measure of damages is a highly speculative endeavor.”);

                                  15   Reading Indus., Inc. v. Kennecott Copper Corp., 477 F. Supp. 1150, 1158, 1160–61 (S.D.N.Y.

                                  16   1979), aff'd, 631 F.2d 10 (2d Cir. 1980) (“Reading's claim that its injury was caused by the

                                  17   defendants holding down prices, which in turn is claimed to have raised prices on the LME and in

                                  18   the scrap market, which in turn required Reading to pay prices higher than it otherwise would have

                                  19   is too remote . . . .”); Folding Carton Antitrust Litig., 88 F.R.D. 211, 219–20 (N.D. Ill. 1980) (“In

                                  20   light of the Supreme Court's overriding concern with the burdensome proof in Illinois Brick and

                                  21   the similar complications in this case, we hold that the . . . plaintiffs do not have standing to sue

                                  22   the defendants from whom they did not purchase folding cartons for damages allegedly sustained

                                  23   on purchases from non-defendants.”).

                                  24           Damages based on a Price-Ladder Theory of recovery, however, are substantively different

                                  25   from umbrella damages. As shown in the previous paragraph, courts that have denied standing for

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                                  27
                                       6
                                        The Third Circuit, however, came to the opposite conclusion in a later case. See In re Lower
                                  28   Lake Erie Iron Ore Antitrust Litig., 998 F.2d at 1168.
                                                                                          8
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                                   1   umbrella damages have focused on the fact that they are based on purchases from third parties

                                   2   operating outside the cartel. The independent pricing decisions of innocent suppliers outside of

                                   3   the cartel, these courts reason, make umbrella damages causally remote, speculative, and difficult

                                   4   to calculate. In contrast, the pricing decisions at issue in the DAPs’ Price-Ladder Theory ‒

                                   5   specifically, the prices at which Defendants sold Larger-Sized CRTs ‒ were made by the

                                   6   Defendants themselves. Defendants’ authority is therefore inapposite.

                                   7                  2.      Umbrella Damages Are Not Prohibited In The Ninth Circuit
                                   8          Even if Defendants’ authority were on point, it would not prohibit the DAPs from pursuing

                                   9   a Price-Ladder Theory of recovery given that umbrella damages are not prohibited where, as here,

                                  10   plaintiffs are only one step removed from defendants in the distribution chain.

                                  11          In Petroleum Prods., the Ninth Circuit denied standing to sue for umbrella damages where

                                  12   plaintiffs were several steps removed from the defendants in the distribution chain. See 691 F.2d
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                                  13   at 1340 (noting plaintiffs “purchased gasoline from independent marketers who, in turn, purchased

                                  14   their gasoline from independent refiners [who, in turn,] . . . manufactured a percentage of the

                                  15   independent marketers’ supply and brokered the remainder of the marketers’ supply from major

                                  16   refiners, i.e., the defendants”). The court denied standing in that context because

                                  17                  [w]hen the fact of a multi-tiered distribution system is imposed upon
                                                      [a] complex set of variables, the obstacles to intelligent inquiry
                                  18                  become nearly insurmountable . . . . Not only would we be required
                                                      to speculate that plaintiffs were injured solely as the result of
                                  19                  umbrella pricing, but also we would be required to sanction complex
                                                      judicial inquiry into the pricing decisions of sellers remote from
                                  20                  plaintiffs.
                                  21   Id. The Ninth Circuit stated expressly, however, that they were not ruling on “whether, in a

                                  22   situation involving a single level of distribution, a single class of direct purchasers from non-

                                  23   conspiring competitors of the defendants can assert claims for damages against price-fixing

                                  24   defendants under an umbrella theory.” Id. at 1340; see also id. at 1341 (limiting the court’s

                                  25   holding to “the facts of this case”); Antoine L. Garabet, M.D., Inc. v. Autonomous Tech. Corp.,

                                  26   116 F. Supp. 2d 1159, 1167 (C.D. Cal. 2000) (“Garabet”) (“Plaintiffs correctly point out that the

                                  27   Ninth Circuit decided this issue only in the context of a multi-level distribution system . . . .”).

                                  28          Several district courts in the Ninth Circuit, however, have addressed umbrella damages in
                                                                                          9
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                                   1   the context of a single-level distribution system. In orders issued prior to Petroleum Prods., courts

                                   2   in the Northern District of California and the Western District of Washington granted standing to

                                   3   plaintiffs seeking umbrella damages. See Wall Products Co. v. Nat'l Gypsum Co., 357 F. Supp.

                                   4   832, 840 (N.D. Cal. 1973) (“Given these facts it is clear that the defendants are not only liable for

                                   5   overcharges sustained from purchases from them, but also for overcharges resulting from

                                   6   purchases made from non-conspirators.”); In re Bristol Bay, Alaska, Salmon Fishery Antitrust

                                   7   Litig., 530 F. Supp. 36, 38 (W.D. Wash. 1981) (“[I]t is this court's conclusion that the situation

                                   8   here and that presented in Illinois Brick are analytically distinct.”). In orders issued after

                                   9   Petroleum Prods., a court in the District of Arizona granted standing, while a court in the Central

                                  10   District of California denied it. See Arizona Dairy Prods. Litig., 627 F. Supp. 233 (D. Ariz. 1985);

                                  11   Garabet, 116 F. Supp. 2d at 1167-70.

                                  12           In Garabet, a district court in the Central District of California rejected plaintiffs’ claims
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                                  13   for umbrella damages after applying the five factor test for antitrust standing set out in Associated

                                  14   General Contractors of California, Inc. v. California State Council of Carpenters, 459 U.S. 519,

                                  15   530-35 (1983).7 See Garabet, 116 F. Supp. 2d at 1166-70. The court found it is “questionable”

                                  16   whether umbrella damages are the type of injury the antitrust laws were intended to forestall

                                  17   because injuries caused by purchases from non-conspirators do not necessarily flow from the

                                  18   collusive behavior at issue and therefore are “neither ‘direct’ nor clearly ‘caused’ by the conduct

                                  19   of [d]efendants.”. See id. at 1169. The court also found that “any attempt . . . to measure how

                                  20   much of th[e] increase [in price] is attributable to the ‘price umbrella’ . . . would be highly

                                  21   speculative” such that it would violate the principles set out in Illinois Brick. Id. at 1169-70.

                                  22   Further, the court held there were two classes of plaintiffs superior to those injured as a result of

                                  23   purchases from innocent suppliers: (1) those who purchased directly from conspirators “whose

                                  24   damages would be more demonstrable, and for whom the causal chain would be unbroken,” and

                                  25
                                       7
                                  26     The five factors include “(1) . . . whether [the alleged injury is] the type the antitrust laws were
                                       intended to forestall; (2) the directness of the injury; (3) the speculative measure of the harm; (4)
                                  27   the risk of duplicative recovery; and (5) the complexity in apportioning damages.” Garabet, 116
                                       F. Supp. 2d at 1166 (quoting Am. Ad Mgmt. v. Gen. Tel. Co. of California, 190 F.3d 1051, 1054
                                  28   (9th Cir. 1999).
                                                                                          10
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                                   1   (2) the non-conspirator suppliers from whom the plaintiffs made their purchases. Id. at 1170.

                                   2   Finally, the court found that because there were superior plaintiffs there was also a “danger of

                                   3   duplicative recovery should any direct purchasers or direct competitors bring damage suits of their

                                   4   own.” Id.

                                   5           The Court disagrees with most of the analysis in Garabet. Successful cartels increase the

                                   6   market price for a price-fixed good, not just their own price (lest consumers subvert the conspiracy

                                   7   by purchasing from lower-priced competitors instead). The injuries that result from conspirators’

                                   8   impact on the market are directly caused by their collusive conduct regardless of the supplier that

                                   9   sells the good.8 The Garabet court suggests that when purchases are made from innocent suppliers

                                  10   there are additional “independent forces” such as “elasticity of demand, . . . pricing decisions,

                                  11   [and] decreases in production or increases in production costs” that make the resulting injury

                                  12   indirect and speculative. Id. at 1170. But a disaggregation of the same “independent forces” is
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                                  13   required in the usual case where damages are calculated based on purchases made directly from

                                  14   conspirators.9 See Oltz v. St. Peter’s Cmty. Hosp., 19 F.3d 1312, 1314 (9th Cir. 1994); Image

                                  15
                                       8
                                  16     Specifically, in response to an increase in price from conspirators, consumer demand for an
                                       innocent supplier’s goods is likely to increase, shifting the innocent supplier’s demand curve to the
                                  17   right, thereby causing an increase in price. Further, a reduction in market supply is likely to cause
                                       the aggregate supply curve to shift to the left, thereby causing an increase in the price set by all
                                  18   suppliers. Finally, if the cartel results in significant market concentration, an innocent supplier is
                                       likely be able to increase its profit margins by increasing price above marginal cost or by engaging
                                  19   in parallel pricing. All of these “pricing decisions,” however, are precipitated by the conspiracy
                                       and are not unique to innocent suppliers; indeed, they are the means by which conspirators drive
                                  20   their own prices higher. The main substantive difference between conspiring and non-conspiring
                                       suppliers, therefore, is that non-conspiring suppliers do not participate in the conduct that sets
                                  21   these forces in motion. Since umbrella damages do not seek to hold innocent suppliers liable,
                                       however, that is a distinction without a difference.
                                       9
                                  22     Damages are usually the difference between the price paid and the competitive price. The price
                                       paid is almost always clear. To determine the competitive price, however, one has to control for
                                  23   unrelated forces, such as those the Garabet court cites, regardless of the party from whom the
                                       plaintiff purchased the price-fixed good. Although such calculations may be inherently imprecise,
                                  24   they are not impermissibly speculative. See J. Truett Payne Co. v. Chrysler Motors Corp., 415
                                       U.S. 557, 566 (1981) (“The vagaries of the marketplace usually deny us sure knowledge of what
                                  25   plaintiff’s situation would have been in the absence of the defendant’s antitrust violation.”);
                                       Bigelow v. RKO Radio Picture., 327 U.S. 251, 264 (1946) (“The tortious acts had in each case
                                  26   precluded ascertainment of the amount of damages more precisely . . . . Nevertheless, we held that
                                       the jury could return a verdict for the plaintiffs.”); Story Parchment Co. v. Paterson Parchment
                                  27   Paper Co., 282 U.S. 555, 562 (1931) (“The most elementary conceptions of justice and public
                                       policy require that the wrongdoer shall bear the risk of the uncertainty which his own wrong has
                                  28   created.”).
                                                                                         11
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                                   1   Tech. Servs. v. Eastman Kodak Co., 125 F.3d 1195, 1222 (9th Cir. 1997); El Aguila Food Prods.

                                   2   v. Gruma Corp., 131 F. App’x 450, 453 (5th Cir. 2005); see also 1 ABA Section of Antitrust Law,

                                   3   Antitrust Law Developments 789 (7th ed. 2012) (explaining disaggregation requirements).

                                   4           Relatedly, the reasoning in Garabet is based on a flawed understanding of price theory.

                                   5   That court quoted the Third Circuit’s opinion in Mid-West Paper, supra, as follows:

                                   6           Although in selecting a price for its product a manufacturer must also take into
                                               account the market price for comparable items, to some extent its pricing decisions
                                   7           remain unaffected by the prices charged by others . . . . Thus, the competitors of
                                               the price-fixers may well have charged the same price notwithstanding the
                                   8           conspiracy.
                                   9
                                       Garabet, 116 F. Supp. 2d at 1168 (quoting Mid–West Paper, 596 F.2d at 584) (ellipse in
                                  10
                                       Garabet). Contrary to what is suggested there, prices are largely a function of supply and
                                  11
                                       demand, and cartels generally increase price by conspiring to reduce supply. The phrase
                                  12
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                                       “pricing decisions” is a misnomer to the extent it suggests price emerges based largely on
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                                  13
                                       individual considerations relating to a firm’s particular circumstances as opposed to factors
                                  14
                                       that for the most part are endogenous to the market ‒ here, in particular, the additional
                                  15
                                       market concentration and decreased market supply caused by the cartel. It is a rare
                                  16
                                       supplier that can set its prices without considering its’ competitors prices (and, in the face
                                  17
                                       of the potential for raising its prices, one with no regard for its return on capital).
                                  18
                                               Of course, sometimes a non-conspirator will raise its prices for reasons that are
                                  19
                                       independent of the conspiracy. In the particular case, the reasons for such an increase are a
                                  20
                                       proper subject for damages analysis. But this Court cannot say that an unrelated rise in
                                  21
                                       price happens with such uniformity that antitrust plaintiffs should be precluded from
                                  22
                                       pursuing umbrella damages as a matter of law.
                                  23
                                               Further, contrary to the court’s holding in Garabet, umbrella damages do not implicate the
                                  24
                                       concerns detailed by the Supreme Court in Illinois Brick. Whereas the complexities of calculating
                                  25
                                       damages based on purchases from non-conspiring suppliers are present in the damages
                                  26
                                       calculations of every cartel case, Illinois Brick was specifically concerned with the complexities
                                  27
                                       associated with determining the amount of overcharge that was passed on to indirect purchasers.
                                  28
                                                                                          12
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                                   1   Illinois Brick does not instruct courts to deny an injured plaintiff relief anytime a case requires

                                   2   complex calculations. Rather, it specifically bars pass-on calculations because they are unreliable,

                                   3   and more importantly, because they risk duplicative recovery and erode the incentive for direct

                                   4   purchasers to bring suit. See Illinois Brick, 431 U.S. at 745-46. As to umbrella damages,

                                   5   however, there is no risk of duplicative recovery because there is no pass-on; moreover, allowing

                                   6   plaintiffs to bring umbrella damages suits only makes private antitrust enforcement more robust.

                                   7          Finally, the Garabet court was wrong to the extent it based its ruling on the idea that

                                   8   umbrella damages claims should be brought by innocent suppliers instead of the purchasers who

                                   9   bought goods from them. See Garabet, 116 F. Supp. 2d at 1170 (“[T]here is [the innocent

                                  10   supplier], whose claim Plaintiffs are apparently attempting to assert.”). Innocent suppliers have no

                                  11   claim because they are not injured by their competitors’ conspiratorial conduct, absent some

                                  12   unrelated exclusionary conduct by the cartel. In fact, non-conspiring suppliers generally stand to
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                                  13   benefit from a price-fixing conspiracy insofar as it reduces supply and increases prices.

                                  14          In sum, Defendants’ analogy to umbrella damages does not advance their argument.

                                  15   Contrary to their assertion, Ninth Circuit authority does not prohibit umbrella damages where

                                  16   plaintiffs are only one step removed from defendants in the distribution chain. Moreover, for the

                                  17   foregoing reasons, the Court disagrees with the reasoning of decisions like Garabet that have

                                  18   denied standing to sue for umbrella damages when plaintiffs are only one step removed in the

                                  19   distribution chain.

                                  20          C.       Conclusion
                                  21          Defendants’ motion is DENIED.

                                  22
                                       III.   DAP MIL NO. 13: MOTION TO EXCLUDE ARGUMENT OR EVIDENCE
                                  23          REGARDING PURPORTEDLY PRO-COMPETITIVE JUSTIFICATIONS FOR
                                              DEFENDANTS’ AGREEMENTS REGARDING CRT PRICE, SUPPLY,
                                  24          PRODUCTION, OR CUSTOMERS
                                  25          The DAPs Target, ViewSonic, Sears, Kmart, Circuit City, and Best Buy10 move the Court

                                  26
                                       10
                                  27     DAP Sharp did not join the instant motion because it alleges both a per se violation as a result of
                                       an agreement to fix prices and a violation under the rule of reason as a result of an agreement to
                                  28   exchange information. Whether Defendants are liable under the rule of reason depends on
                                       whether the procompetitive benefits of the alleged information exchanges outweigh the
                                                                                        13
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                                   1   to prohibit Defendants from referring to or introducing evidence that provides procompetitive

                                   2   justifications for Defendants’ alleged agreements relating to CRT price, supply, production, or

                                   3   customers. The motion is GRANTED IN PART and DENIED IN PART. Evidence and argument

                                   4   of procompetitive effects is relevant insofar as it is probative of whether Defendants’ information

                                   5   exchanges served a legitimate business purpose.11 Defendants are prohibited, however, from

                                   6   introducing evidence or argument on this issue for any other purpose.

                                   7          Under the per se rule, an agreement is conclusively presumed unreasonable “without

                                   8   elaborate inquiry as to the precise harm [it has] caused or the business excuse for [its] use.” N.

                                   9   Pac. Ry. Co. v. United States, 356 U.S. 1, 5 (1958). Evidence and argument suggesting an

                                  10   agreement to fix prices was justified is therefore irrelevant. It is also potentially prejudicial to the

                                  11   extent it invites the jury to consider purported justifications notwithstanding the requirements of

                                  12   the per se rule. See Arizona v. Maricopa Cnty. Med. Soc’y, 457 U.S. 332, 347 (1982); FTC v.
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                                  13   Superior Court Trial Lawyers Ass’n, 493 U.S. 411, 423 (1990).

                                  14          Defendants’ contend, however, that the DAPs’ motion is unacceptably “broad and

                                  15   indiscriminate” insofar as it would exclude “justifications related to whether exchanges of

                                  16   information were done pursuant to the alleged illegal agreements or for other, legal, purposes.”

                                  17   DAP MIL #13 Opp’n at 60. An agreement to exchange information among competitors, while not

                                  18   itself illegal under the per se rule, can be probative of a per se illegal conspiracy to fix prices. See

                                  19   United States v. U.S. Gypsum Co., 438 U.S. 422, 443 (1978). DAPs are likely to present evidence

                                  20   that Defendants exchanged competitive information. They are also likely to ask the jury to infer

                                  21   an underlying agreement to fix prices based in part on those information exchanges. If they do,

                                  22   Defendants are entitled to rebut that inference by presenting evidence and argument showing that

                                  23   their information exchanges were for legitimate business purposes unrelated to any conspiracy to

                                  24   fix prices. In other words, Defendants are entitled to submit evidence and argument, not to show

                                  25

                                  26   anticompetitive harm.
                                       11
                                          The DAPs’ Rule 403 objection is denied without prejudice. The DAPs are free to object at trial
                                  27   if they believe the probative value is substantially outweighed by unfair prejudice or if the
                                       evidence is cumulative. The Court will make a Rule 403 determination at that time based on the
                                  28   context and circumstances in which the evidence is submitted.
                                                                                          14
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                                   1   that the alleged price fixing agreement was justified, but to show that the alleged information

                                   2   exchanges are not necessarily indicative of a price fixing agreement.

                                   3          The DAPs’ motion is therefore DENIED to the extent it seeks to prevent Defendants from

                                   4   providing evidence or argument to rebut the DAPs’ claim that the existence of information

                                   5   exchanges is indicative of an underlying agreement to fix prices. It is GRANTED, however, in all

                                   6   other respects. Further, the DAPs are free to make Rule 403 objections at trial if they believe the

                                   7   probative value of relevant evidence is substantially outweighed by unfair prejudice. Based on the

                                   8   context and circumstances, the Court will determine whether the evidence invites the jury to

                                   9   disregard the per se rule in light of purported procompetitive benefits and whether that risk

                                  10   substantially outweighs the probative value. The DAPs may also object if they believe evidence

                                  11   of the information exchanges’ procompetitive effects is cumulative of other evidence suggesting

                                  12   the information exchanges had a legitimate business purpose.
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                                  13
                                       IV.    MOTION TO EXCLUDE REFERENCES TO DOCUMENTS OR BEHAVIOR NOT
                                  14          IN EVIDENCE
                                  15          Defendants move the Court to exclude all references by the DAPs and their experts that the

                                  16   documents produced in discovery reflect only a portion of the alleged conspiratorial conduct. The

                                  17   motion is DENIED.

                                  18          The DAPs intend to submit as evidence documents from Defendants’ records probative of

                                  19   conspiratorial conduct that contain instructions to “destroy after reading” or similar directives.

                                  20   The DAPs intend to argue that the jury should infer from that evidence that the record only reflects

                                  21   a fraction of the cartel conduct that actually occurred. Defendants claim such argument is

                                  22   “speculative, lacks foundation, is irrelevant, threatens to mislead the jury, and is unfairly

                                  23   prejudicial.” Def. MIL #11 at 1. Defendants’ argument has no merit. Asking the jury to conclude

                                  24   from the existing “destroy after reading” documents that some records were indeed destroyed is a

                                  25   permissible inference under the rules of evidence, and not a difficult one to draw.

                                  26          Defendants also seek to exclude certain testimony from the DAPs’ expert economist

                                  27   Kenneth Elzinga on the same topic on the basis that it is inadmissible expert testimony. They

                                  28   point specifically to Dr. Elzinga’s Rebuttal Report wherein Dr. Elzinga writes the following:
                                                                                         15
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                                   1                   If we take the defendants at their word, we know that they were, in
                                                       general, instructed not to make notes for their concerted conduct and
                                   2                   they were not to keep records of their collusive endeavors. To the
                                                       extent these instructions were followed, then to that extent the
                                   3                   evidence of cartel activity is reduced. Because I cannot tell how
                                                       many documents, spread sheets, notes, memoranda, correspondence,
                                   4                   telephonic records, and emails were destroyed or not created in the
                                                       first place, I cannot make a statistical inference as to how much
                                   5                   greater would be the evidence of the cartel’s robustness. But one
                                                       can conclude: it would be greater.
                                   6
                                                       Assume that only 50% of these records never saw the light of day by
                                   7                   appearing in the record of this case. That would mean the record in
                                                       this case could be twice as long as it is, and it’s very long already.
                                   8
                                       ECF No. 3557-2 (“Elzinga Report”) at 145. Defendants argue this testimony is speculative
                                   9
                                       because it is not based on facts or data in the record, is based on Dr. Elzinga’s “subjective beliefs
                                  10
                                       about what defendants may or may not have done,” and is outside Dr. Elzinga’s expertise. Def.
                                  11
                                       MIL #11 at 2.
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                                              Defendants’ argument fails. The first paragraph quoted above states a fact: If the
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                                  13
                                       Defendants are taken “at their word” then one can assume that some evidence was destroyed, and
                                  14
                                       Dr. Elzinga therefore “cannot make a statistical inference as to how much greater would be the
                                  15
                                       evidence of the cartel’s robustness. But one can conclude: it would be greater.” Elzinga Report at
                                  16
                                       145. The second paragraph merely poses a hypothetical. Neither paragraph, however, is
                                  17
                                       speculative, outside Dr. Elzinga’s expertise, or otherwise in violation of the Federal Rules of
                                  18
                                       Evidence.
                                  19
                                              The motion is DENIED.
                                  20
                                       V.     MITSUBISHI ELECTRIC’S MOTION IN LIMINE NO. 3 TO EXCLUDE ANY
                                  21          REFERENCE AT TRIAL TO ANY PARTY’S PARTICIPATION IN THE EIAJ
                                              AND EIAJ ACTIVITIES
                                  22
                                              Mitsubishi Electronic (“Mitsubishi”) moves in limine to exclude any reference to a party’s
                                  23
                                       participation in the Electronic Industries Association of Japan (the “EIAJ”), a Japanese trade
                                  24
                                       organization, as well as reference to any exchanges of production information among EIAJ
                                  25
                                       members. The motion is DENIED.
                                  26
                                              Mitsubishi and certain other Japanese Defendants exchanged information at EIAJ
                                  27
                                       meetings, including production and other information. The DAPs intend to use evidence of EIAJ
                                  28
                                                                                         16
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                                   1   meetings and information exchanges to show “the context in which certain Japanese Defendants to

                                   2   this action transitioned from participating in trade association meetings to participating in an

                                   3   illegal price-fixing conspiracy.” Mitsubishi Opp’n at 14. Mitsubishi contends, however, that the

                                   4   EIAJ evidence is impermissible character evidence and ought to be excluded under Rule 404(b)

                                   5   because it “suggest[s] EIAJ participants were more likely to have participated in the . . .

                                   6   conspiracy.” Mitsubishi Mot. at 6. Further, Mitsubishi claims the probative value of the EIAJ

                                   7   evidence is significantly outweighed by unfair prejudice. Specifically, Mitsubishi claims “the

                                   8   evidence poses too great a potential for the jury to hear impermissible character evidence . . . .”

                                   9   Mitsubishi Mot. at 9. Mitsubishi’s Rule 403 objection, in other words, is simply a restatement of

                                  10   their Rule 404(b) objection.

                                  11          Rule 404(b) states that “[e]vidence of a[n] . . . other act is not admissible to prove a

                                  12   person's character in order to show that on a particular occasion the person acted in accordance
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                                  13   with the character.” Mitsubishi’s motion suggests the following: (1) based on the EIAJ evidence,

                                  14   the jury may infer that Mitsubishi engaged in unlawful conspiratorial conduct during the EIAJ

                                  15   meetings, (2) that unlawful conduct would constitute “other acts” unrelated to this case, (3) the

                                  16   “other acts” would then be used by the DAPs to show that Mitsubishi has a propensity for fixing

                                  17   prices, and (4) the jury may conclude that it is more likely that Mitsubishi participated in the CRT

                                  18   conspiracy at issue in this case because they participated in conspiratorial conduct in the past.

                                  19          Mitsubishi’s argument has no merit. The EIAJ evidence is probative of Mitsubishi’s

                                  20   participation in the CRT conspiracy, not “a separate Japan-based conspiracy.” Mitsubishi Mot. at

                                  21   9. Further, the Court agrees with the DAPs that “the jury could reasonably conclude that the

                                  22   conduct of certain Japanese Defendants [at the EIAJ meetings] was merely one facet of a broader

                                  23   conspiracy” to fix CRT prices. Mitsubishi Opp’n at 15.

                                  24          The motion is DENIED.

                                  25
                                       VI.    MITSUBISHI ELECTRIC’S MOTION IN LIMINE NO. 1 TO EXCLUDE THE SDI
                                  26          INTERROGATORY RESPONSE
                                  27          Mitsubishi moves in limine to exclude an interrogatory response (the “SDI Response”) in

                                  28   which Samsung SDI Co. (“SDI”) admitted that it conspired to fix CRT prices with a Mitsubishi
                                                                                         17
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                                   1   entity. Mitsubishi argues the SDI Response should be excluded because it is inadmissible hearsay

                                   2   and because the risk of unfair prejudice significantly outweighs its probative value. The DAPs do

                                   3   not dispute that the SDI Response is hearsay, nor do they claim that a hearsay objection applies.

                                   4   The DAPs nevertheless argue the SDI Response should be admitted because of a discovery ruling

                                   5   by the Special Master and because it is not unfairly prejudicial. The motion is GRANTED.

                                   6          “The court may exclude relevant evidence if its probative value is substantially outweighed

                                   7   by a danger of . . . unfair prejudice.” Fed. R. Evid. 403. Given the SDI Response directly

                                   8   implicates Mitsubishi in the conspiracy, it is extremely probative of Mitsubishi’s liability.

                                   9   Mitsubishi argues that it is unfairly prejudicial because “the entity which made the hearsay

                                  10   assertion . . . is not available for cross-examination . . . .” Mitsubishi Mot. at 3. Because evidence

                                  11   is hearsay and therefore unreliable, however, does not make it unfairly prejudicial. See United

                                  12   States v. Looking Cloud, 419 F.3d 781, 785 (8th Cir. 2005) (holding that evidence is unfairly
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                                  13   prejudicial where “it tends to encourage the jury to find guilt from improper reasoning”); United

                                  14   States v. Sills, 120 F.3d 917, 920 (8th Cir.1997) (“Whether there was unfair prejudice depends on

                                  15   whether there was an “undue tendency to suggest decision on an improper basis.”). Accordingly,

                                  16   Mitsubishi’s Rule 403 objection is denied.

                                  17          “[A] statement, other than one made by the declarant while testifying at the trial or hearing,

                                  18   offered in evidence to prove the truth of the matter asserted” is not admissible unless a hearsay

                                  19   exception applies. See Fed. R. Evid. 802. Accordingly, “[a]lthough an answer to an interrogatory

                                  20   is admissible against the party answering the interrogatory, it ordinarily is not admissible in

                                  21   evidence against anyone else . . . .” 23 Am. Jur. 2d, Dispositions and Discovery, § 131. If the

                                  22   DAPs seek to admit the SDI Response to prove that a Mitsubishi entity conspired with SDI to fix

                                  23   CRT prices, then the SDI Response is hearsay. As the DAPs point to no applicable exception, the

                                  24   SDI Response is inadmissible if submitted for that purpose.

                                  25          The DAPs argue the SDI Response should be admitted nevertheless because the Special

                                  26   Master granted SDI’s request for a protective order against a Fed. R. Civ. Pro. 30(b)(6) deposition

                                  27   notice served by the DAPs. The DAPs claim that “the Special Master held that Samsung SDI’s

                                  28   interrogatory responses fulfilled the role that a Rule 30(b)(6) deposition would fill, suggesting that
                                                                                         18
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                                   1   those interrogatory responses are usable to the same extent as deposition testimony would be.”

                                   2   Mitsubishi Opp’n at 3. Not so. The Special Master found that a Rule 30(b)(6) deposition of SDI

                                   3   would be duplicative of “SDI’s prior discovery responses,” which “adequately supplied the

                                   4   information that a FRCP 30(b)(6) deposition would furnish.” ECF No. 3644-7 at 4. This issue of

                                   5   whether “SDI’s prior discovery responses” ‒ including the SDI Response at issue here ‒ are

                                   6   admissible at trial was not before the Special Master.

                                   7          The motion is GRANTED.

                                   8   VII.   CONCLUSION
                                   9          The Court now rules as follows:

                                  10

                                  11                   Name of Motion                     Motion     Opp’n       Reply        Ruling
                                                                                          ECF No.   ECF No.     ECF No.
                                  12
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                                        MOTION FOR PRETRIAL PROFFER AND                  3559       3652        3767        GRANTED
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                                  13    RULING ON ADMISSIBILITY OF                       (“Def.     (“Def.      (“Def.      IN PART,
                                        ALLEGED CO-CONSPIRATOR                           MIL #1     MIL #1      MIL #1      DENIED IN
                                  14    STATEMENTS                                       Mot.”)     Opp’n”)     Reply”)     PART

                                  15    MOTION TO EXCLUDE PLAINTIFFS’                    3568       3648-4      3761        DENIED
                                        PRICE-LADDER THEORY OF                           (“Price-   (“Price-    (“PRICE
                                  16    RECOVERY                                         LADDE      Ladder      -Ladder
                                                                                         R Mot.”)   Opp’n”)     Reply”)
                                  17
                                        MOTION TO EXCLUDE ARGUMENT OR                    3558       3676-4      3757-4      GRANTED
                                  18    EVIDENCE REGARDING PURPORTEDLY                   (“DAP      (“DAP       (“DAP       IN PART,
                                        PRO-COMPETITIVE JUSTIFICATIONS                   MIL        MIL #13     MIL #13     DENIED IN
                                  19    FOR DEFENDANTS’ AGREEMENTS                       #13”)      Opp’n”)     Reply”)     PART
                                        REGARDING CRT PRICE, SUPPLY,
                                  20    PRODUCTION, OR CUSTOMERS

                                  21    MOTION TO EXCLUDE REFERENCES                     3557       3686        3765        DENIED
                                        TO DOCUMENTS OR BEHAVIOR NOT IN                  (“Def.     (“Def.      (“Def.
                                  22    EVIDENCE                                         MIL        MIL #11     MIL #11
                                                                                         #11”)      Opp’n”)     Reply”)
                                  23
                                        MITSUBISHI ELECTRIC’S MOTION IN                  3601       3644-4      3772-4      DENIED
                                  24    LIMINE NO. 3 TO EXCLUDE ANY                      (“MITS.    (“MITS.     (“Mits.
                                        REFERENCE AT TRIAL TO ANY                        Mot.”)     Opp’n”)     Reply”)
                                  25    PARTY’S PARTICIPATION IN THE EIAJ
                                        AND EIAJ ACTIVITIES
                                  26
                                  27

                                  28
                                                                                        19
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                                   1                 Name of Motion           Motion     Opp’n     Reply     Ruling
                                                                              ECF No.   ECF No.   ECF No.
                                   2
                                        MITSUBISHI ELECTRIC’S MOTION IN       3601      3644-4    3772-4    GRANTED
                                   3    LIMINE NO. 1 TO EXCLUDE THE SDI       (“MITS.   (“MITS.   (“MITS.
                                        INTERROGATORY RESPONSE                Mot.”)    Opp’n”)   Reply”)
                                   4

                                   5

                                   6         IT IS SO ORDERED.

                                   7   Dated: October 26, 2016
                                                                            ______________________________________
                                   8                                                      JON S. TIGAR
                                                                                    United States District Judge
                                   9

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                                  12
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